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 United States v. Simon Gogolack
              23-CR-99-JLS-JJM




            Defendant’s Exhibit B
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 1                       UNITED STATES DISTRICT COURT
 2                       WESTERN DISTRICT OF NEW YORK
 3
       - - - - - - - - - - - - - X              23-CR-0099
 4     UNITED STATES OF AMERICA,
                      Plaintiff
 5
                 Vs.                            Buffalo, New York
 6     SIMON GOGOLACK,                          September 14, 2023
                      Defendant
 7     - - - - - - - - - - - - - X
 8
                        TRANSCRIPT OF DETENTION HEARING
 9                 BEFORE THE HONORABLE JEREMIAH J. MCCARTHY
                        UNITED STATES MAGISTRATE JUDGE
10
11                       U.S. ATTORNEY'S OFFICE - BUFFALO
                         BY: NICHOLAS COOPER, ESQ.
12                       138 Delaware Avenue
                         Buffalo, New York 14202
13                       Appearing on behalf of the Plaintiff
14                       FEDERAL PUBLIC DEFENDER
                         BY: JEFFREY T. BAGLEY, ESQ.
15                       300 Pearl Street
                         Suite 200
16                       Buffalo, New York 14202
                         Appearing on behalf of the Defendant
17
18
19
20
21
       COURT REPORTER:Brandi A. Wilkins
22                    scalisba@gmail.com
                      Kenneth B. Keating Federal Building
23                    100 State Street, Room 2120
                      Rochester, New York 14614
24
25
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 1                 THE COURT:    Morning.    Please be seated.
 2                 THE CLERK:    We're on the record in criminal
 3     proceeding 23-CR-99 United States of America versus
 4     Simon Gogolack for a detention hearing and
 5     arraignment.    Present in the courtroom are Assistant
 6     U.S. Attorneys Nicholas Cooper and Joseph Tripi.
 7     Defendant Mr. Gogolack with Assistant Federal Public
 8     Defender Jeffrey Bagley and United States Probation
 9     Officer Andre McCray.      The Honorable Jeremiah J.
10     McCarthy presiding.
11                 THE COURT:    Good morning, Mr. Gogolack.
12     Good morning, Counsel.
13                 MR. COOPER:    Morning Judge.
14                 MR. BAGLEY:    Morning Judge.
15                 THE COURT:    All right.    Before we proceed to
16     the detention hearing, there has been an indictment
17     returned which is dated September 13, 2023.          Mr.
18     Gogolack, have you received a copy of the indictment?
19                 THE DEFENDANT:     I just did, yes.
20                 THE COURT:    Is there motion to unseal?
21                 MR. COOPER:    Your Honor, at this time, the
22     Government is moving to unseal the indictment.
23                 THE COURT:    Okay.   That motion is granted.
24     Um, Mr. Cooper, do you want to briefly summarize the
25     charges and the potential penalties?         It seems to me
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 1     they're -- I didn't compare word for word, but they
 2     seem to be the same charges as alleged in the
 3     complaint.    Is that correct?
 4                  MR. COOPER:   That's largely correct, Your
 5     Honor.   Um, any changes may be to date ranges charged
 6     with respect to count one, but the substantive charges
 7     are the same.    I'll summarize the indictment.        It's a
 8     five count indictment and that it includes one
 9     forfeiture allegation.
10                  Count one charges the defendant with
11     narcotics conspiracy beginning on or about July 2,
12     2023, and continuing until on or about August 8, 2023.
13     Specifically that the defendant conspired to commit
14     the following offense, that is to possess with intent
15     to distribute and to distribute fentanyl, cocaine,
16     methamphetamine, marijuana and Xanax.         That narcotics
17     conspiracy carries a maximum penalty of 20 years
18     imprisonment.    There's no mandatory minimum associated
19     with that offense.
20                  Count two charges the defendant with
21     maintaining a drug involved premises in violation of
22     Title 21 United States Code Section 856(a)(1).          The
23     timeframe is again July 2 through August 8, 2023.           The
24     premises is 296 Scott Avenue, Wellsville, New York.
25     And there is no mandatory minimum associated with that
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 1     offense.    The maximum penalty is 20 years of
 2     imprisonment.
 3                 Count three charges the defendant with
 4     possession of firearms in furtherance of drug
 5     trafficking.    The date range is the same as the two
 6     aforementioned counts.      That's in violation of Title
 7     18 United States Code Section 924(c)(1)(a)(1).
 8     There's a five year mandatory minimum penalty
 9     associated with that offense which is required by
10     operation of law to run consecutively to any other
11     penalty associated with this offense, and there's a
12     maximum possible sentence of life imprisonment with
13     respect to that count.
14                 Count four charges the defendant with being
15     a felon in possession of a firearm and ammunition.
16     The date range for count four is July 21 through
17     August 8, 2023.     And um, it alleges that the defendant
18     possessed a specific firearm and ammunition in
19     violation of Title 18 United States Code Sections
20     922(g)(1) and 924(a)(8).      That offense carries no
21     mandatory minimum and a maximum penalty of 15 years
22     imprisonment.
23                 Count five charges the defendant with being
24     an unlawful user of controlled substances in
25     possession of a firearm and ammunition.         The date
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 1     range is the same as that in count four.         That's in
 2     violation of Title 18 United States Code Section
 3     922(g)(3) and section 924(a)(8), and that also has no
 4     mandatory minimum and carries a maximum possible
 5     penalty of 15 years imprisonment.
 6                 THE COURT:    Okay.   Sir, you have the right
 7     to remain silent.     Anything that you say may be used
 8     against you.    Um, however, you cannot be compelled to
 9     testify against yourself.       You are legally presumed
10     innocent of these charges at the present time.          Um,
11     you have the right to be represented by an attorney,
12     and if you cannot afford an attorney, one will be
13     appointed for you.     Now, you recently were charged in
14     a criminal complaint and counsel, um, was appointed
15     for you.    Are you asking that Mr. Bagley be
16     reappointed?
17                 THE DEFENDANT:     Yes.
18                 THE COURT:    Do you accept the reappointment,
19     Mr. Bagley?
20                 MR. BAGLEY:    Yes, Judge.    Thank you.
21                 THE COURT:    Okay.   Do you waive the formal
22     reading of the indictment?
23                 MR. BAGLEY:    We do.
24                 THE COURT:    And how does the defendant
25     plead?
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 1                 MR. BAGLEY:    Not guilty, Judge.
 2                 THE COURT:    Okay.   Counsel, at the complaint
 3     stage, I also issued a -- orally and in writing a
 4     Brady order to the Government.        Does anybody wish me
 5     to repeat that or will it be deemed continuing in
 6     effect?
 7                 MR. COOPER:    Judge, I acknowledge the
 8     Court's order and I understand it to be continuing in
 9     effect.
10                 THE COURT:    Mr. Bagley, do you agree?
11                 MR. BAGLEY:    Yes.
12                 THE COURT:    Okay.   All right.    Um, then --
13     well, do we want to do the -- the detention hearing
14     now or do we want to talk about a scheduling order
15     first?    I leave it up to counsel.
16                 MR. COOPER:    I'm ready to go with the
17     detention hearing unless Mr. Bagley has a different
18     position.
19                 MR. BAGLEY:    Yeah, Judge.    I think detention
20     hearing first would make sense.
21                 THE COURT:    Okay.   Counsel, you both
22     received the pre-trial services report dated August
23     30; is that correct?
24                 MR. BAGLEY:    Yes.
25                 MR. COOPER:    That's correct, Judge.
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 1                 THE COURT:    Okay.    Mr. Cooper?
 2                 MR. COOPER:    Your Honor, the United States
 3     is asking that you detain the defendant in this case,
 4     and I'm going to go through -- I have a power point
 5     presentation and I'm going to ask you first if you are
 6     able to see that on the screen in front of you.
 7                 THE COURT:    Yes.
 8                 MR. COOPER:    Okay.    So the basis that the
 9     Government is moving for detention, Judge, are under
10     18 United States --
11                 THE COURT:    Well, before you mentioned --
12     you mentioned your power point and I know at prior
13     stages there was -- you had indicated that you had
14     some information that you had shared -- attempted to
15     share with prior counsel.        He was not able to access
16     it for whatever reason, but I assume that Mr. Bagley
17     has had access to whatever you are going to be talking
18     about.   Is that correct?
19                 MR. COOPER:    That's my understanding, but
20     you can ask Mr. Bagley to confirm it.
21                 MR. BAGLEY:    Judge, I don't know what's in
22     the fancy power point, but I did get um --
23                 THE COURT:    He didn't say it was fancy.
24                 MR. BAGLEY:    It looks pretty -- it's already
25     looking fancy to me, Judge.
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 1                 THE COURT:    Okay.   Well --
 2                 MR. BAGLEY:    He's got the case heading and
 3     everything, Judge.     Um, but I did get discovery from
 4     -- from the Government, Judge, um, pictures, videos,
 5     you know, things like that.       So if that's what's in
 6     this um power point, Judge, then I did receive that
 7     information.
 8                 THE COURT:    Okay.
 9                 MR. COOPER:    Okay, great.     All kidding
10     aside, Judge, this case is in my view as serious as it
11     gets.   Um, the indictment in this instance is the tip
12     of the iceberg, and we'll get into that in a little
13     bit more detail later.      I always start with the basis
14     for detention.     Here it's 18 United States Code
15     Section 3142(f)(1)(a).      922)g) is a crime of violence,
16     924(c) is a crime of violence, and that allows the
17     basis for detention.
18                 18 United States Code Section 3142(f)(1)(b)
19     because the defendant is charged now by indictment
20     with a 924(c) offense with a maximum of life
21     imprisonment that's a basis for detention.          Under 18
22     United States code 3142(f)(1)(c) because the defendant
23     is charged under the controlled substance act with a
24     penalty that has a statutory maximum over ten years
25     that's a basis for you to detain him.
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 1                  Under 18 United States Code Section
 2     3142(f)(1)(e), any felony that's not otherwise a crime
 3     of violence that involves the possession or use of a
 4     firearm or destructive device or any other dangerous
 5     weapon, that's another for you to detain the
 6     defendant.    Under 18 United States Code 3142(f)(2)(a)
 7     because there's a serious risk in this case that the
 8     defendant will flee, and I'll discuss that in more
 9     detail in a bit, but that's a basis for you to detain
10     this defendant.
11                  And under Title 18 United States Code
12     Section 3142(f)(2)(b), a serious risk that this
13     defendant will obstruct or attempt to obstruct justice
14     or threaten, injure or intimidate or attempt to
15     threaten, injure or intimidate a perspective witness
16     or juror, and we're going to get into that in a little
17     more detail, but that's a basis for you to detain the
18     defendant.
19                  On top of having numerous basis to detain
20     the defendant, there's two applicable statutory
21     presumptions that say this Court should presume the
22     defendant should be detained under Title 18 United
23     States Code Section 3142(e)(3)(a) because of that
24     Title 21 offense with the statutory maximum of at
25     least ten years and under 3142(e)(3)(b) there's a
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 1     presumption the defendant should be detained because
 2     of the 924(c) offense.
 3                 THE COURT:    Okay.    And um, apologies in
 4     advance.    Are there any mandatory minimums on any of
 5     these charges?
 6                 MR. COOPER:    So Judge, as we discussed with
 7     the -- during the arraignment, the 924(c) offense
 8     carries a five year mandatory minimum penalty --
 9                 THE COURT:    Okay.
10                 MR. COOPER:    -- that has to run consecutive
11     to any other sentence.
12                 THE COURT:    Okay.
13                 MR. COOPER:    Other than that, the current
14     narcotics offense that's charged in this indictment
15     does not carry a mandatory minimum.
16                 THE COURT:    Okay.
17                 MR. COOPER:    So we've summarized the charges
18     already.    I'm going to skip through these.        We've gone
19     through the detention basis.        Gone through the
20     presumptions.     The factors under 3142(g).       The first
21     factor for the Court to consider is the nature and
22     circumstances of the offense.        Here we have the
23     possession of a loaded shotgun in furtherance of drug
24     trafficking which is an inherently dangerous and
25     violent crime.     In the incident case, the defendant's
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 1     cell phone is chock-full of text messages and
 2     photographs that make it clear that he's a drug
 3     trafficker.     The defendant's cell phone also makes
 4     clear that he has access to numerous firearms.
 5                  During the search warrant at the defendant's
 6     residence, law enforcement recovered a tactical
 7     shotgun and they recovered body armor, and no matter
 8     how hard the defendant tries today to distance himself
 9     from that shotgun or from that body armor he cannot
10     because the text messages and photographs in his phone
11     make it abundantly clear that the shotgun belonged to
12     him and the body armor belonged to him.
13                  The weight of the evidence against the
14     person.    This is a factor that probation doesn't
15     consider when making their recommendation, and I point
16     out that even though they didn't consider that,
17     probation still recommended that you detain this
18     defendant.    The weight of the evidence here is
19     considerably strong.
20                  The search warrant for the defendant's cell
21     phone establishes I would submit beyond any doubt that
22     the defendant is involved in a narcotics conspiracy.
23     The contents of the defendant's phone establish that
24     he's a drug dealer and that he possessed numerous
25     firearms and body armor in furtherance of that drug
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 1     trafficking activity.
 2                 A search warrant at the defendant's
 3     residence yielded recovery of a tactical shotgun,
 4     ammunition, body armor, drug paraphernalia and
 5     suspected drugs or cutting agent for drugs, and that's
 6     consistent with what you will see and hear from his
 7     cell phone.     Here are just a couple of the photographs
 8     recovered from the defendant's cell phone, and in
 9     order to keep this power point under 500 slides, we
10     had to make some selections.        This is a photograph of
11     what appears to be drugs --
12                 THE COURT:    Again, I'm assuming unless you
13     tell me differently that all of these have been shared
14     with Mr. Bagley; correct?
15                 MR. COOPER:    So Judge, all of this and more
16     has been shared with Mr. Bagley, first of all.           This
17     morning I emailed Jeff two new pictures because they
18     weren't in that initial disclosure because I intended
19     on relying on them today.
20                 THE COURT:    Okay.
21                 MR. COOPER:    And I would just like to point
22     out that's above and beyond what the law requires
23     which is that I not be required to turn over
24     discoverable material before a detention hearing, but
25     we've gone above and beyond to do that here.
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 1                  THE COURT:    Okay.
 2                  MR. COOPER:   These are photographs of what
 3     obviously appears to be drugs taken from the
 4     defendant's phone.      This next photograph I would
 5     submit to a jury and to the Court right now that this
 6     is 924(c) in a single photograph.         Here we have
 7     hypodermic needles, a semi automatic firearm with a
 8     laser on it, which the defendant text messages with
 9     various people about trying to sell, another firearm
10     above that semi automatic pistol, it's unclear to me
11     what that is, ammunition in a tupperware, alcohol,
12     pill bottles and what appears to be tied off plastic
13     bags of drugs.
14                  There's not a better picture on earth to
15     demonstrate possession of a fire arm in furtherance of
16     drug trafficking than this picture in front of Your
17     Honor.    This is pulled from the defendant's phone and
18     the photo, Judge, it's not from May.         It's not from
19     last year.    It's from July 21, 2023.       And the metadata
20     from the extraction is underneath that photograph.
21                  This next photograph, the defendant
22     possessing a semi automatic firearm.         This is seized
23     from his phone.     Again, the photo was created on July
24     21, 2023.    The next slide the defendant taking
25     photographs of more pistols again July 21, 2023.           And
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 1     we'll get into the text messages in a little bit where
 2     the defendant is trying to sell these firearms,
 3     offering to sell these firearms including to drug
 4     dealers.
 5                 More photographs that the defendant took
 6     depicting firearms.      Again, the metadata establishing
 7     that these photos were taken on July 21, 2023.           More
 8     firearms, photographs taken by the defendant on July
 9     21, 2023.    July 21, 2023, a photograph of a firearm
10     that we've seen in an earlier photograph next to drugs
11     and drug paraphernalia.       Here it is in the defendant's
12     hand.    And then we have a photo from the defendant's
13     phone on July 21, 2023, depicting a shotgun and a
14     human leg and a bed with shotgun shells, and a few
15     things I point out about this photo, Judge, A, that's
16     the shotgun we seized from his house, B, those shells
17     are the same shells that are littered on the floor
18     when law enforcement responds to the death of CQ, and
19     C, those same shells were recovered during the search
20     warrant by law enforcement.
21                 Here's more photographs of the shotgun that
22     I'm sure the defendant is going to deny possessing
23     July 21, 2023.     We have a laser sight coming off of a
24     shotgun with spikes on the end of it and we're going
25     to get into more about what the defendant did with
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 1     this shotgun in a little bit.        Here's a photo seized
 2     from the phone of CQ who was with the defendant in the
 3     days before her death.       So we're talking about July
 4     28, 29, July 30, leading up to her death on or about
 5     August 1.    This photo shows the defendant holding the
 6     shotgun that was seized from his house.
 7                  THE COURT:    How do you know that's the
 8     defendant?
 9                  MR. COOPER:   Judge, the same shirt was
10     seized from the -- or a shirt that appears to be the
11     exact same shirt was seized from the defendant's
12     residence and I would submit to the Court that between
13     the photos from the defendant's phone of the same
14     shotgun and the male who fits the defendant's
15     description holding the shotgun and the circumstances
16     that CQ was with this defendant that entire weekend
17     and this photo was pulled from her phone that you can
18     make an obvious inference that it's the defendant.
19                  Text messages from the defendant's phone
20     that establish that the defendant is a drug
21     trafficker.     Now, again Judge, I'm going to proffer to
22     the court, but Mr. Bagley has all of these text
23     messages, and I would just like to read some of them
24     to Your Honor now.      I can't pull them up on the screen
25     but these are pulled from a cell bright extraction of
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 1     the defendant's cell phone.       All this has been turned
 2     over.    The defendant has text messages with the
 3     contact stored in his phone, one of them, this is a
 4     contact stored as Bill.       July 28, 2023.     Simon texts
 5     175 for 3 Gs for the next one to spend and much more
 6     after that and boi.      Judge, that text message is an
 7     obvious drug selling text message.         175 for three Gs,
 8     three grams for the next one to spend.         The next
 9     message after that and much more after that and boi,
10     B-O-I.
11                 Now, you'll see if you reviewed all these
12     texts from the phone, boi B-O-I and food over and over
13     again.    Boi and food are terms that are constantly
14     used in Western New York to describe heroin, heroin
15     and fentanyl.     Those text messages occur over and over
16     again in the defendant's phone, and I'm just going to
17     read you a very brief summary of the you hundreds and
18     hundreds of messages where this defendant is selling
19     drugs.
20                 What's particularly disturbing though are
21     text messages that he has to a person named Clinic
22     Shawn, and Judge, in these text messages, it's
23     apparent that the defendant is picking his customer
24     base from people that are going to methadone clinics
25     trying to get sober.      And so what the defendant does
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 1     is pick off people trying to get help and sell them
 2     fentanyl.
 3                 Here are these texts to Clinic Shawn.         He
 4     says good soft hard and food.        I'll take care of you.
 5     Soft being powder cocaine, hard being crack cocaine
 6     and food being fentanyl or heroin.         Clinic Shawn
 7     responds to the defendant okay, what's good?          There's
 8     text messages with a source of supply in the
 9     defendant's phone and the defendant has this person
10     stored as a contact called Deal.
11                 Those text messages discuss drug trafficking
12     where it's apparent that that's a source where this
13     defendant gets his fentanyl from.         The defendant texts
14     this drug dealer about selling him a high point
15     pistol.    The drug dealer says, hey, high point still
16     around?    And Simon responds yeah.       Four hours later,
17     Simon texts this drug dealer saved in his phone as
18     Deal and says high point and Deal responds he ain't
19     want it.    Take a picture with the 50 in the hand
20     joint.
21                 Now, high point is a semi automatic pistol,
22     Judge.    They're talking about selling firearms to drug
23     dealers here.     July 8, this defendant texts Deal and
24     he says silver mini Draco with four clips for 1325 and
25     Deal responds let me see it and Simon responds got to
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 1     get a pic.    I tried it out on the fourth.        It's ill.
 2                  THE COURT:    It's what?
 3                  MR. COOPER:    Ill.   It's awesome, very cool.
 4     Great gun.    On July 10, Simon texts Deal asking where
 5     he is, and Deal tells Simon run to the clinic and see
 6     who needs some boi.       I'm going to give you a few
 7     samples to give away.      It's disgusting behavior,
 8     Judge.    Simon responds that's like perfect timing
 9     because I just had four people hit me up and I'm
10     riding with three more who want it.         Then Simon texts
11     I'm about 30 minutes away and I need one and one
12     again.
13                  Now, again, working on drug investigations
14     for a long time, Judge, one and one again is in
15     reference to one gram of fentanyl and one gram of
16     crack cocaine or one gram of heroin and one gram of
17     crack.    This is common drug trafficker parlance.         They
18     discuss money and the drug source of supply complains
19     that Simon is not paying him with straight money.
20     (There was a pause in the proceeding.)
21                  MR. COOPER:    There's I would say
22     approximately two dozen separate conversations with
23     different people, either drug customers or drug
24     traffickers, that occur during the month of July
25     through August when the phone is seized by law
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 1     enforcement.     The phone is filled with drug
 2     trafficking.     One thing I'd like to point out to the
 3     Court is that the defendant was with this person CQ
 4     who was a witness in a federal case the weekend of
 5     July 29 and 30 leading up to August 1 when CQ is
 6     called in dead by this defendant.
 7                 The defendant during those same dates over
 8     that weekend, July 27, July 28, is texting people
 9     indicating that he has heroin, fentanyl or crack
10     cocaine for sale, and I can read some of those text
11     messages to the Court.       So one example, Judge, on July
12     27, somebody asks the defendant, Yo, can you 100% get
13     addies or adderall?      And this defendant responds just
14     sold 45 in the last hour.       So that's just adderall,
15     but I want to find this fentanyl text message from
16     that same weekend, that July 28 weekend.
17     (There was a pause in the proceeding.)
18                 MR. COOPER:    Okay.    So July 26 is the text
19     messages to Clinic Shawn where the defendant is
20     indicating he has good soft and hard and food and
21     he'll take care of Clinic Shawn.        July 28, 2023, this
22     is the weekend before CQ's death while the defendant
23     is with CQ.     Simon texts said he has 175 for three
24     grams for the next one to spend and much more after
25     that and boi, and as we've discussed, boi is a
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 1     reference to fentanyl or heroin.        The defendant texts
 2     again and says $70 for a bun, B-U-N, which is a
 3     shortened term for bundle which is the way that heroin
 4     or fentanyl is packaged in small bags wrapped in a
 5     bundle.
 6                 That same text messages advertising $175 for
 7     three grams is sent to numerous people as an outgoing
 8     text message in the defendant's phone.         On July 26,
 9     2023, the defendant texts a contact in his phone
10     stored as Brandon Big and says you like that pic I
11     sent you?    That shit is special edition with a heat
12     activated beam.     It holds 13 but small and light as
13     fuck.    Brandon Big responds what pics?       And then three
14     hours later texts Ooouuuu and Simon responds fire, I
15     told you.
16                 So what we know about the defendant just
17     from reviewing his cell phone, Judge, is that he makes
18     a profit, makes a living selling drugs to people
19     trying to get sober at methadone clinics, that he
20     tries to sell his guns to drug dealers.          That's
21     corroborated by the photographs filled in his phone of
22     guns and drugs, and it's corroborated by witness
23     testimony that the Government has developed during the
24     course of its investigation.        I'm going to pick back
25     up now where we left off in the power point
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 1     presentation.     Hopefully.    Come on, Power Point.
 2     (There was a pause in the proceeding.)
 3                 MR. COOPER:    So this is the shotgun that you
 4     see depicted in both the photograph from the
 5     defendant's phone and the photograph from CQ's phone.
 6     This is a photograph taken by law enforcement when
 7     they searched the defendant's house on August 8.           If
 8     you look closely on the left side of the photograph
 9     you can see the same spikes on the front of this
10     shotgun that existed in those pictures.          They're a
11     very specific item.
12                 THE COURT:    Go back to that photo.       Where --
13     it looks like it's almost in an attic or something.
14     Do you know where?
15                 MR. COOPER:    That's exactly where it is,
16     Judge.    So the search warrant occurred on August 8
17     which is a week after the defendant called law
18     enforcement and reported CQ as dead.
19                 THE COURT:    Right.
20                 MR. COOPER:    I'm going to get into some of
21     the things that law enforcement believes that the
22     defendant did at the scene where that occurred in a
23     minute, but the gun is tossed up in the attic in the
24     rafters by the time law enforcement searchs on August
25     8.   Here's some other photos from the search warrant
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 1     at the defendant's residence on August 8.          On the
 2     bottom left corner is the body armor.
 3                 Now, that same body armor is referenced in
 4     text messages that the defendant exchanges with
 5     actually as recent as July 28, 2023, the defendant
 6     sends a text message indicating that he's wearing his
 7     vest during what appears to be a confrontation.
 8     There's a digital scale.       There's a white powdery
 9     substance and a razor blade.
10                 Don't need to be a rocket scientist to know
11     that that's drugs or cut.       I doubt it's baking soda.
12     And in the center photo here, we have a digital scale,
13     tin foil, a straw.      These are items seized after the
14     defendant's had an opportunity to clean his house up.
15                 Continuing with the factors under 3142(g),
16     the history and characteristics of this defendant.
17     The defendant has a significant substance abuse
18     history.    The defendant has a prior probation um
19     violation/revocation.      The nature and seriousness of
20     the danger to any person or the community that would
21     be posed by this defendant's release.
22                 Well, first of all, the obvious.        He's
23     selling drugs, possessing firearms and body armor.
24     That poses a serious threat to society.          However, what
25     I would like to spend some time with the Court on now
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 1     is witness tampering and intimidation because --
 2                 THE COURT:    Before you do that --
 3                 MR. COOPER:    Yeah.
 4                 THE COURT:    -- he's not charged with any of
 5     that now, is he?
 6                 MR. COOPER:    Not in this indictment, Judge.
 7                 THE COURT:    In any other indictment?
 8                 MR. COOPER:    Judge, I would submit to the
 9     Court that that's going to be coming in the near
10     future.
11                 THE COURT:    Okay.    Well --
12                 MR. COOPER:    And then there's both testimony
13     and corroboration which you are going to see in a
14     second about this witness tampering that occurred, and
15     something I expect you are going to hear during the
16     course of the detention hearing today is that the
17     defendant offered to turn himself in or self surrender
18     to the FBI but this witness tampering incident and
19     there's mor than one witness tampering incident
20     occurred after the defendant called and offered to
21     turn himself into the FBI.
22                 THE COURT:    Well --
23                 MR. COOPER:    So what we have here is reports
24     from witnesses, multiple witnesses, more than one with
25     corroborating evidence that between the time of the
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 1     search warrant at the defendant's residence and the
 2     time of his arrest, the defendant communicated, and it
 3     says with at least one individual, I can confirm for
 4     the court now it's at least two individuals and
 5     attempted to intimidate and threaten them from
 6     communicating with law enforcement.
 7                 THE COURT:    All right.    Well, I'll listen to
 8     your proffer in that regard, but I just want to note
 9     that he is not charged currently with witness
10     tampering, and I'm going to take that into account in
11     assessing all of the factors.
12                 MR. COOPER:    Well, Judge --
13                 MR. BAGLEY:    Judge, this is also -
14                 THE COURT:    No need to argue with me, Mr.
15     Cooper.    I said I will listen to your proffer, but I
16     just want it noted that he's not currently charged
17     with any of that.      So go ahead.
18                 MR. COOPER:    Absolutely, Judge.      So I would
19     ask the Court to keep open eyes and open mind to the
20     information in front of you regardless of whether an
21     indictment has been returned yet on these charges
22     because obviously it takes time to present cases,
23     bring witnesses into the Grand Jury.         It's not a
24     question of if so much as a question of when.
25                 THE COURT:    I've noted your position and
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 1     you've noted my position.
 2                 MR. COOPER:    Yes, Judge.
 3                 THE COURT:    Okay.    Go ahead.
 4                 MR. COOPER:    The next slide up on your
 5     screen here is a cash app payment from this defendant
 6     on August 14, and I don't know if the Court uses cash
 7     app or Venmo or these electronic payment systems --
 8                 THE COURT:    None of the above.      I'm sorry.
 9                 MR. COOPER:    I'm sorry?
10                 THE COURT:    I do not.    My kids do I'm sure.
11                 MR. COOPER:    So just -- and I didn't mean
12     that with disrespect.
13                 THE COURT:    No, no.    I appreciate it.
14                 MR. COOPER:    I just wanted to educate the
15     Court, when you send a payment on Venmo or CashApp,
16     you have to include a memo or a note with it.
17                 THE COURT:    Okay.
18                 MR. COOPER:    So I send you $5 and I say for
19     coffee because you bought me a cup of coffee, I have
20     to include that text some sort of comment.          It can
21     even be an emoji like a smiley face.
22                 THE COURT:    Okay.
23                 MR. COOPER:    In this instance what we have
24     is the defendant sending a CashApp payment to a
25     witness and the defendant sends $1 so a nominal amount
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 1     and the message is for sixth amendment.          Now, this is
 2     before the defendant is even arrested by the FBI.
 3     It's after his house has been searched and it's after
 4     he's offered to turn himself in, and he's sending
 5     messages to witnesses or people he believes are
 6     witnesses against him and telling him for sixth
 7     amendment.
 8                  Now, I can tell the Court that the people
 9     who received those messages didn't even know what the
10     sixth amendment meant so they Googled it, and when
11     they Googled it they saw that it was the right to
12     confront your accuser, and the people who received
13     these messages, and it's more than one person,
14     perceived it as a threat from this defendant.
15                  The nature and seriousness of the danger to
16     any person or to the community that would be posed by
17     the defendant's release.       One of the things I want to
18     show the Court is what was observed at defendant's
19     house during the search warrant.        During the search on
20     August 8, they found numerous identification documents
21     of other individuals inside the defendant's residence.
22                  These IDs included someone else's license to
23     carry firearms, someone else's medical marijuana card,
24     someone else's driver's license, all in the names and
25     bearing photographs of other individuals, and these
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 1     individuals all share common physical characteristics
 2     as in being white males with this defendant.
 3                 But there's more than that.       The defendant
 4     has specifically impersonated an individual by the
 5     name of Scott Drummond previously.         Now, we could
 6     receive witness testimony from numerous individuals
 7     that they've personally witnessed the defendant
 8     pretending to be this other person named Scott
 9     Drummond, in possession of photo ID in the name of
10     Scott Drummond with this defendant's photo on it, and
11     what we have here in the green is a text message that
12     the defendant sends to what I believe to be a bail
13     bondsman pretending that he's Scott Drummond.
14                 And so he's taking on the identity of
15     another person and he's using that in association with
16     essentially a participant in the criminal justice
17     system.    He's trying to bailout his girlfriend from
18     her burglary case and he writes down that he's Scott
19     Drummond from Wellsville.       When he was arrested, he
20     was in the wallet of Scott Drummond.         When law
21     enforcement responded to the death of CQ, the
22     defendant told them that Scott Drummond lived in his
23     house and it was Scott Drummond's side of the house
24     where CQ was found dead.       That was a lie.
25                 The defendant lived in the one room that's
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 1     occupied in the house.       The remaining rooms of the
 2     house are completely delipidated but the defendant
 3     represented to law enforcement that there was this
 4     essentially a duplex and that he lived in the other
 5     side with the attempted to displease distance himself
 6     from the dead body inside of his house.
 7                  Law enforcement took 300 plus photographs
 8     from inside that house during the search warrant.
 9     There's no chance anyone lived in the other side.           The
10     rooms are completely filled with trash.          There's holes
11     in the ceiling.     There's power tools laying all over
12     the floor.    There's no functional bed, no functional
13     couch, no functional refrigerator, no functional
14     bathroom, but he lies to the police when they show up
15     at the scene of this um -- this woman's death to
16     attempt to distance himself.
17                  There's also photographs in the defendant's
18     phone of sensitive Government credentials.          Now,
19     because that's part of an on going investigation, I'm
20     not going to post those photographs in this power
21     point.    They've been turned over to the defendant and
22     to defense counsel under the terms of the protective
23     order that we've agreed upon, and I have them here in
24     a folder which I can hand up to the court so you can
25     look at them, I would request that essentially the
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 1     Court review them under seal so that they are not
 2     publicly displayed to the gallery, but Mr. Bagley has
 3     them, I have them and I'd like to hand them up to the
 4     Court with your permission.
 5                 THE COURT:    Okay.    Um, Mr. Cooper, back to
 6     this Scott Drummond.      Are you saying that he's a -- is
 7     he a real person?
 8                 MR. COOPER:    Sure is, Judge.
 9                 THE COURT:    Okay.    And these documents were
10     found where?
11                 MR. COOPER:    So these were photographed and
12     the photographs were in the defendant's phone.
13                 THE COURT:    Okay.    Do you know whether the
14     person --
15                 MR. COOPER:    There's an ongoing
16     investigation and that's all I can say about -- I
17     don't have an update.      I know there's an investigation
18     by an appropriate agency, but I don't want to speak
19     publicly more than --
20                 THE COURT:    I'm just wondering whether this
21     person is a real person or not or you don't know.
22                 MR. BAGLEY:    Yes.    It's a real person,
23     Judge.
24                 THE COURT:    Okay.    All right.    Thank you.
25                 MR. BAGLEY:    The defendant's actions
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 1     surrounding the death of Government witness CQ which
 2     is currently under investigation.         On August 1 at 6
 3     p.m. the defendant calls 911 to report that CQ was
 4     present in his residence and apparently dead.           By the
 5     time the defendant called 911 to report her death,
 6     CQ's body had already become cold to the touch and
 7     stiff.
 8                 By the time law enforcement arrived, it was
 9     apparent that she had been dead for a significant
10     period of time before her death was reported.           The
11     area she was dead, the living space within 296 Scott
12     Avenue is very small.      There's essentially a studio
13     apartment style in one of the rooms of the house and
14     that's essentially the only room of the house that
15     somebody could occupy or live in.         So it's not like
16     the defendant was upstairs in the attic where you saw
17     the shotgun.     This is the area that's occupied of the
18     house.    That's where she's found dead.       She's cold to
19     the touch, rigid and stiff.
20                 Local law enforcement believed when they
21     arrived that the defendant was high on Methamphetamine
22     and they observed him drinking large quantities of
23     straight liquor while they are attempting to interview
24     him about this person's death.        The defendant appeared
25     evasive to members of local law enforcement about her
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 1     death.    He made inconsistent statements to them
 2     regarding the circumstances surrounding her death.
 3     While speaking to local law enforcement, the defendant
 4     claimed that CQ had committed suicide.
 5                 Separately, the defendant also made
 6     statements to local law enforcement saying to make
 7     sure the cause of death is found out.         I will be the
 8     suspect if that's what's necessary to find out what
 9     happened to her.      The defendant initially told local
10     law enforcement that he was not present with CQ at the
11     time of her death.      He claimed he lived in the
12     upstairs of the residence.
13                 This statement by the defendant is
14     demonstratively false as I've indicated to the court.
15     There's dozens of the pictures of the upstairs of 296
16     Scott Avenue, and nobody lived there.         The defendant
17     later told the FBI during a recorded interview that he
18     was sleeping next to CQ and didn't realize that she
19     had died.    So that's already two diametrically opposed
20     accounts of his whereabouts and his involvement in
21     CQ's death, and we know from the text messages, Judge,
22     that he had food or fentanyl for sale the weekend that
23     he was with CQ.
24                 It's impossible to believe that the
25     defendant was unaware that CQ was dead given the state
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 1     of her body at the time law enforcement responded to
 2     the scene, and I have photographs that I can show or
 3     hand up to the Court regarding the state of CQ's body
 4     at the time law enforcement arrived.         Again, I'm not
 5     going to publicly display those, but with Your Honor's
 6     permission, I'll hand them up.
 7                 THE COURT:    Mr. Bagley has had access to
 8     them?
 9                 MR. COOPER:    Judge, I believe that those
10     were turned over in the packet of discovery, but I can
11     hand them a copy as well when I hand them up to you.
12     (There was a pause in the proceeding.)
13                 MR. COOPER:    On top of being deceptive with
14     law enforcement by his statements about CQ's death,
15     the defendant was also um when law enforcement goes to
16     the house to conduct a search they find a fire pit
17     which is depicted in the bottom right corner of this
18     power point slide, and in the fire pit is the
19     comfortable from the bed as if it's ready to be
20     burned.
21                 This is the bed that CQ was found dead in.
22     Law enforcement, the locals from Wellsville when that
23     he arrived, indicated to the FBI in subsequent
24     interviews that they believed that the scene had been
25     cleaned up or tampered with by this defendant before
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 1     he called them.     They indicated that they would
 2     generally expect to find more packaging and
 3     paraphernalia or items consistent with opiate use near
 4     a person's body if they had suffered an accidental
 5     overdose.
 6                 Those items were not present by the time law
 7     enforcement responded to the 911 call.         It's suspected
 8     that the defendant hid items including firearms and
 9     controlled substances before calling 911.          After being
10     arrested in Depew on August 2, the defendant made
11     unsolicited statements to local law enforcement about
12     CQ's death.     The defendant claimed that he had heard
13     CQ on the phone with her lawyer and that she was
14     telling her lawyer, that's a lawyer that this court
15     knows, that she intended to kill or harm herself.           The
16     Government has spoken with that attorney who
17     acknowledged that he spoke with CQ and indicated that
18     CQ in no way mentioned harming herself and that she
19     planned on attending a meeting with him and the
20     Government later that week.
21                 So the defendant is lying to the police
22     unsolicited, just throwing this information out there
23     to put out a narrative that CQ was planning to harm
24     herself, but the attorney who practices in this
25     courthouse who represented this woman said that did
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 1     not happen.     She did not tell me she planned on
 2     harming herself.      She was planning to come to a
 3     meeting with me and the Government the following week.
 4     So the defendant is lying to law enforcement and
 5     putting out this false narrative that she harmed
 6     herself and the attorney is denying that and saying
 7     that did not happen.
 8                  Judge, before I get to the burden, there's
 9     additional newly developed information, and again,
10     because the way this works, we don't always get the
11     information the same day that a person is charged by a
12     complaint.    This is not charged in the indictment,
13     yet, but I'm going to proffer to you now that there
14     are multiple witnesses to an incident where the
15     defendant used the same shotgun that you've seen in
16     those pictures to hold a drug user against his will in
17     the defendant's basement for upwards of three hours,
18     that he struck that person with the spikes on the
19     front of that shotgun.
20                  That incident was witnessed by another
21     individual.     Both of those individuals corroborate
22     each other and describe the defendant whose wrapped
23     himself in plastic from head to toe holding a drug
24     user captive in his basement for over three hours.
25     The Government is continuing to investigate that
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 1     information.
 2                  However, after the information came to the
 3     Government, we rereviewed the photos from the search
 4     warrant conducted at the defendant's house, and sure
 5     enough, the photos from the defendant's basement show
 6     plastic um drop cloth, essentially what painters would
 7     use, and a white plastic chair.        Now, that's exactly
 8     what was described by this witness who essentially
 9     says the defendant lured him to the house by offering
10     him drugs and then brought him down into the basement
11     where the defendant was -- had set-up plastic from
12     floor to ceiling in a little like on three sides and a
13     white chair and that he then shoved the person into
14     the chair, struck the person with the shotgun and held
15     the person against their will for hours in his
16     basement.
17                  The same plastic -- or the plastic chair
18     that was described by the witnesses and the plastic
19     drop cloth that was described by witnesses is still in
20     the basement when law enforcement goes and photographs
21     the house.    They didn't even know that they were
22     looking for it, but afterwards while interviewing
23     people who've purchased drugs from the defendant, the
24     Government becomes aware of this incredibly disturbing
25     conduct where the defendant has used that shotgun to
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 1     beat someone and essentially kidnap them by holding
 2     them against their will using the instrumentality of
 3     commerce which would be a cell phone to lure them to
 4     the house.
 5                  So the defendant poses an obvious danger to
 6     the community.     The pictures, the text messages, the
 7     threats over CashApp should all convince this Court of
 8     that by clear and convincing evidence.          The defendant
 9     also imposes a risk of flight.        The Court should be
10     convinced of that by the defendant's possession of
11     numerous IDs, the defendant's willingness to use the
12     identity of another individual repeatedly based on
13     both witness testimony and the text messages in his
14     own phone.
15                  But I would point out that the burden first
16     here is with the defendant to overcome the two
17     presumptions that apply in this case, and I don't
18     believe he could even get that far, but if the Court
19     does believe the presumptions have been overcome, the
20     Government has proven anyway by clear and convincing
21     evidence that he's a danger and a flight risk.
22                  THE COURT:    Okay.   Thank you.    Mr. Bagley?
23                  MR. BAGLEY:   Judge, the -- you know, the
24     rules in the detention hearing are pretty liberal, but
25     um we've gone pretty far off field from -- and I
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 1     didn't interrupt Mr. Cooper in his um -- in his
 2     stringent presentation this afternoon, um, but, you
 3     know, to take for example this last accusation that um
 4     apparently comes from some information -- somebody
 5     said to somebody who said to somebody who told the
 6     Government that something happened in a basement that
 7     I have absolutely no knowledge of, no ability to
 8     combat, no ability to argue against, Judge, puts us in
 9     a very unfair position.       What you have heard here this
10     morning and into this afternoon is essentially a
11     closing argument made without the ability for me to
12     present any kind of defense to that closing argument.
13                 THE COURT:    Well, why don't you focus on um
14     what has been charged?
15                 MR. BAGLEY:    And I'm --
16                 THE COURT:    As I indicated a few minutes
17     ago, I was listening to the proffer of uncharged
18     events and I take that proffer of uncharged events and
19     I take that proffer very seriously, but um, I think my
20     focus will be on what has been charged which in and of
21     itself seems to me to be very troublesome.          So go
22     ahead.
23                 MR. BAGLEY:    Judge, and I understand, and I
24     will focus on that.      Um, I do think part of what I'd
25     like to say though is -- is that, you know, when I say
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 1     when I compare this to a closing argument, obviously
 2     if this were a trial, we -- both the Government and
 3     the defense would have been able to um put on
 4     witnesses, would have had months and months and going
 5     on years in order to investigate in order to um bring
 6     defenses.
 7                  In fact, the entire time almost that Mr.
 8     Cooper was speaking, Mr. Gogolack was trying to talk
 9     to me in my other ear trying to explain and clarify
10     and combat and dispute a lot of the things if not all
11     the things that Mr. Cooper was saying.         So obviously,
12     if this were a trial, I would stand up and I would
13     have months and months and I would use my witnesses,
14     but I'm at the disadvantage now because the Government
15     has been investigating this case since the beginning
16     of August.
17                  They didn't charge Mr. Gogolack until the
18     end of um -- end of August, and so they have um months
19     of time to be able to put in and put their spin on the
20     things that you've seen in front of you this morning.
21     So for example, what do I mean when I say spin?           One
22     example of that, Judge, and again, I can't go through
23     every single piece of evidence that they've presented
24     to me this morning and um back and forth with them on
25     that, but with respect to for instance the photos that
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 1     they showed you in the power point, they mentioned --
 2     the Government mentioned that one was was recently
 3     taken as of July 21, 2023.
 4                 I don't know if you notice this, Judge, but
 5     in fact all of the dates on those photos were July 21,
 6     2023.    So that raises a host of questions.        Why are
 7     all of those -- why are all of those pictures dated
 8     July 21, 2023?     I think it stands to reason that the
 9     picture wasn't taken on July 21, 2023, but rather that
10     it was uploaded or saved or done some sort of um --
11     something happened with the -- with the device on that
12     date rather than that it was taken.
13                 So that tends to suggest that we don't know
14     the date in fact of when this picture -- when those
15     pictures were taken.      We don't know in fact with
16     respect to the pictures, whether those pictures that
17     are on -- allegedly on his phone um were taken by Mr.
18     Gogolack.    You in fact asked a question, Judge, I
19     think a fair one about, whether or not that um picture
20     that the Government claims depicts Mr. Gogolack
21     holding a firearm is in fact Mr. Gogolack.          And so
22     these are all just -- just brief and short examples of
23     the types of things that um again make it -- make it
24     pretty unfair for us to be able to sit here and combat
25     against a closing argument that the Government has
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 1     clearly spent hours putting together when the only --
 2     the only determination before this court at this
 3     time,.
 4                 Judge, as you know is whether Mr. Gogolack
 5     poses such a serious risk of flight that he is going
 6     to flee from this charge and whether or not he is a
 7     danger, and whether or not, Judge, and on that last
 8     point of course, whether or not there are conditions
 9     that the Court can impose that would alleviate any
10     concerns that the Court may have with respect to
11     dangerousness.
12                 Um, the Government did not talk about
13     several of the factors in 3142(g), Judge, which are
14     family ties, employment, length of residence,
15     financial resources.      It did talk, Judge, a little bit
16     about -- the Government that is did talk a little bit
17     about drug and alcohol abuse and that's something that
18     I would like to focus on.
19                 The pre-trial services report is replete
20     with um Mr. Gogolack admitting candidly that he is a
21     user of controlled substances, that he has a
22     controlled substance um problem, and that he um is --
23     struggles with that, that he used as recently as um
24     days and hours prior to his arrest.         And so that is
25     proffered to the Court as a reason to detain Mr.
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                                                                        41



 1     Gogolack.
 2                 I would submit, Judge, that it's a reason to
 3     release Mr. Gogolack and to get him some treatment.
 4     Um, a jail is not a place where folks who are
 5     suffering from controlled substance disorders get any
 6     kind of treatment.      Um, they may go attend a meeting
 7     or two, Judge, but it is not the same intensity as um
 8     a facility designed to treat folks in Mr. Gogolack's
 9     situation, Judge.
10                 So I'll cut to the chase a little bit.         What
11     my proposal is going to be to the Court is that Mr.
12     Gogolack be released to a treatment facility such as
13     Horizon or Stutesman and I spoke with the probation
14     officer -- officers before today's court appearance.
15     Um, typically, that as you know, Judge, having dealt
16     with this probably hundreds of times that there's not
17     always a bed available.
18                 I'm not asking that Mr. Gogolack be released
19     today and um on his own recognizance obviously, Judge.
20     What I'm asking is that um in fact you do detain Mr.
21     Gogolack but that you detain him only until the point
22     that a bed becomes available at one of these treatment
23     facilities.     I know that the Court is often concerned
24     about the security of these facilities in terms of
25     whether or not, um, you know, Mr. Gogolack is going to
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 1     be under -- under lock and key.        What I can report to
 2     the court, Judge, is that although it's not a jail by
 3     any means, he's under constant supervision.
 4                 There are 24 hours a day.       So were Mr.
 5     Gogolack not to be where he was supposed to be, it
 6     would be discovered within short order.          In fact, I
 7     had a client not too long ago, Judge, that was
 8     released from one -- because he was doing well, he was
 9     released from one more stringent um location to a less
10     stringent one where he's granted more liberties.           So
11     Mr. Gogolack were he to be admitted into this type of
12     facility would be in that first situation.
13                 Again, constant supervision 24 hours a day,
14     several people on site that are there designed to
15     first of all of course treat Mr. Gogolack for his
16     serious substance abuse problems, and two, um, to make
17     sure that he's not going anywhere, and if he were,
18     probation would find out about it in short order.
19                 And so, Judge, you know, that ties in a
20     little bit again to the coloring that you saw this
21     morning.    Um, you know, to take -- you know, the
22     Government got to look through Mr. Gogolack's phone.
23     They got a month and a half in order to do that, and
24     they got to pick out the things that they thought were
25     the most damming for Mr. Gogolack, and then they got
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 1     to sit there and argue to the Court that certain --
 2     make their interpretations as to what those things
 3     mean; right?     This isn't a case where Mr. Gogolack had
 4     sales to an undercover officer.
 5                 This isn't a case where there's a
 6     confidential informant who has come in and said Mr.
 7     Gogolack sold me drugs.       Instead they found pictures
 8     for example on his phone of a bag of a white substance
 9     and it is claimed that Mr. Gogolack is selling this
10     white substance.      That, Judge, is good enough for a
11     proffer I suppose under the liberal rules of evidence
12     that apply here today, but I'd ask the Court to apply
13     some healthy skepticism to that because again we're
14     not in a position to be able to combat that just yet.
15     And I think based on what Mr. Gogolack has been trying
16     to tell me the entire detention hearing that down the
17     line we will be in such a position.
18                 Judge, Mr. Gogolack's father is here today.
19     His name is Paul.      Um, Paul is a lifelong resident of
20     the Western New York area as is Simon.         Um, he does
21     have family ties to this area.        Mr. Gogolack has also
22     been employed for some time.        He owns his own small
23     business in which he um repairs small engines and he
24     does odd construction jobs, Judge.         In fact, one of
25     the things that Mr. Gogolack is concerned about upon
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 1     the prospect of detention is that there are jobs out
 2     there that he's only half finished and that he would
 3     like to conclude.      So that -- you know, that's a
 4     factor that the Congress has said the Court must
 5     consider and it's one that I think works in Mr.
 6     Gogolack's favor.
 7                 Another factor, Judge, that the Court can
 8     consider is financial resources, and I think um many
 9     of my clients are in a position where they don't have
10     a lot of financial resource, and although Mr. Gogolack
11     does work, he's not a wealthy man.         What that means I
12     think, Judge, what I'd ask the Court to consider with
13     respect to that is that he doesn't have the means to
14     buy himself a ticket flying out of this country or
15     anything um of that nature, Judge.
16                 You know, the folks who in my experience
17     actually flee from charges which are few and far
18     between, we sit here and we argue about this on a
19     daily basis, but there's a handful of cases out of the
20     hundreds and thousands that apply where a defendant
21     has actually fled from a charge, and those handful,
22     Judge, are usually the folks who have the means to do
23     that.    Mr. Gogolack does not.      Mr. Gogolack lives here
24     his whole life.     His family lives here his whole life.
25     He's not going to go anywhere, Judge.         He's eager, as
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 1     evidenced by this detention hearing, to defend against
 2     these charges.
 3                  So Judge, I would ask that you consider
 4     those um -- those circumstances as you -- the
 5     Government tried to preempt a few of the things that
 6     um it correctly assumed Mr. Gogolack and I were going
 7     to present this morning and including the fact that he
 8     did call the FBI at one point because he was -- he did
 9     know he was under um investigation because of this
10     unfortunate circumstances with the death that occurred
11     in his residence, and said look, you want me to come
12     here.    Here I am.    Come get me.    Where can I turn
13     myself in?    Again, that shows that Mr. Gogolack is not
14     a flight risk.
15                  Nor Judge, I think it should be pointed out
16     that there's a lot of circumstances here that are
17     again presented in a light if I may least favorable to
18     Mr. Gogolack.     Um, you know, there was drugs found in
19     a residence and um -- and it happened to be that an
20     unfortunate situation occurred where um this woman
21     passed away while she was in the same residence as Mr.
22     Gogolack, but there's no other connection between him
23     and this woman.     He didn't -- he's known the woman for
24     some time, but they just met recently again 10 -- or
25     two weeks before this incident occurred.
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 1                 So Judge, what it appears to me is that
 2     there's a wrong place wrong time situation.          If Mr.
 3     Gogolack who, you know, the Government makes a lot
 4     about him trying to distance himself from the fact
 5     that this woman died, but of course, it's he who calls
 6     the police that morning when he finds her
 7     unresponsive.     So if he wanted to distance himself
 8     from the situation, he wouldn't have called and
 9     reported the death, and he wouldn't have done all the
10     things that he did in order to try to make sure that
11     this does get solved um because Mr. Gogolack is in
12     fact interested in getting this um resolved.
13                 Um so, Judge, for those reasons, again, my
14     proposal is um understanding that the Court must
15     consider the weight of evidence but it's only one.
16     It's only one factor that the Court has to consider,
17     and it's the least important factor because Mr.
18     Gogolack as you again had said, Judge, already this
19     morning is presumed innocent of these charges.           So
20     despite, again, I will say fancy presentation from the
21     Government on this point, um, this is not a trial and
22     Mr. Gogolack is presumed innocent of these charges,
23     and so for those reasons, I'd ask that you would
24     release him to either Horizon or Stutesman, a place
25     where he's going to get intensive supervision and
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 1     intensive care, and you don't have to do that, Judge,
 2     until there's a bed available, and there's going to be
 3     a host of other conditions that the Court is -- we're
 4     going to have no objections to that the Court I'm sure
 5     is going to apply and that probation is going to
 6     recommend that are going to be -- amount to the least
 7     restrictive as the Court knows that's the requirement
 8     to impose the least restrictive conditions in order
 9     assure his appearance and ensure the safety of the
10     communication.
11                 So while jail may be of course the easiest
12     answer, it's not what the Court is obligated to
13     consider.    What the Court is obligated to consider is
14     imposing the least restrictive conditions in order to
15     meet those two factors, Judge.        So I would submit that
16     the least constructive condition is in fact this
17     treatment facility.
18                 THE COURT:    Okay.    Thank you.
19                 MR. COOPER:    Judge, I just want --
20                 THE COURT:    Very briefly.
21                 MR. COOPER:    -- to hit on a couple things,
22     sure.    The first thing is with respect to --and I
23     understand the Court's position, I'm just trying to
24     make a record.     With respect to the witness tampering
25     despite the fact that it's not charged, in United
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 1     States versus Vendetti, a District Court case from the
 2     Western District of New York, May 26, 2011, the court
 3     held the Second Circuit has recognized that pre
 4     indictment efforts to persuade witnesses still
 5     constitute witness tampering and are relevant to
 6     assessing a defendant's danger to a community and
 7     potential future conduct.
 8                 And so I believe it is something that this
 9     Court should take very seriously.         It's not just two
10     witnesses who have told the Government about it, and
11     it's not third level hearsay.        It's the people
12     themselves coming here and saying this happened to me,
13     but we have corroboration.       You looked at it.      So I
14     think you should consider that very seriously.
15                 The second thing that I would say, Judge,
16     with respect to putting the defendant in a treatment
17     facility, I come to Your Honor frequently in these
18     sorts of proceedings, and I have on multiple occasions
19     agreed to that, consented to it.        It's something that
20     I take seriously is if a person needs to be in
21     treatment and if that's an acceptable position for the
22     Government to take, I go along with that.
23                 In this instance, Judge, that would be
24     putting the fox in the hen house.         This defendant is
25     the person picking off the people in treatment to sell
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 1     them fentanyl.     And if you go and send the defendant
 2     to a treatment facility and he starts giving dope to
 3     people who are trying to get well, that would be on
 4     this court.     It's not something that we need to do is
 5     take that chance, put the defendant in a treatment
 6     facility where he can continue to sell drugs to people
 7     trying to get treatment which is what he's obviously
 8     been doing.
 9                 It's demonstrated in his text messages.
10     It's demonstrated by witness testimony.          So the
11     Government is strongly opposed to that.          It does not
12     aswage the concerns about the danger that he's poses
13     to the community.      The least restrictive means in this
14     case is jail, Judge.
15                 THE COURT:    All right, thank you.      Um, the
16     defendant is presumed innocent of the charges at this
17     point.    That's a presumption for trial, but under the
18     bail reform act, I'm entitled and obligated to
19     consider many factors, one of which is the weight of
20     the evidence, and as I said to Mr. Cooper earlier and
21     in fairness to the defendant and Mr. Bagley, while I
22     do not ignore the proffer relative to uncharged
23     incidents that may end up being charged, I give less
24     weight to the proffer in that regard than I do to the
25     proffer that falls within the scope of what's already
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 1     been charged, and the proffer as to what's already
 2     been charged is very significant, very detailed.
 3                 It indicates -- regardless of when these
 4     photos were taken, it indicates that um photos from
 5     his cell phone clearly, strongly suggest that he was
 6     dealing in both drugs and in firearms at some point.
 7     Um, the fact that the shotgun um was apparently
 8     located in the attic of the house suggests that some
 9     effort was made to conceal his involvement in the
10     dealing.
11                 Um, there is a presumption against release
12     based on the nature of the charges.         If I merely
13     confine myself, and I do, um, to the proffer relative
14     to what's been charged, I find that he has not
15     rebutted the presumption, and I agree with -- I don't
16     always agree with Mr. Cooper, he knows that, but I do
17     agree that um placing the defendant in a treatment
18     facility given what I've heard from the proffer would
19     not certainly be in -- it might be in his best
20     interest.    It's certainly not in society's best
21     interest.
22                 So I find at the present time that the
23     defendant has not rebutted the presumption.
24     Therefore, I find by clear and convincing evidence
25     that there is no condition or combination of
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 1     conditions which would reasonably assure me that if
 2     released he would not pose a danger to the community,
 3     and I find by a preponderance of the evidence that
 4     there is no condition or combination of conditions
 5     which would reasonably assure me that if released he
 6     would not pose a risk of flight.
 7                 But I will -- Mr. Bagley, I note you have
 8     been at a procedural disadvantage.         You appeared in
 9     this case only just over a week ago, and I know that
10     you've received the materials which are the subject of
11     the proffer.     You have had an opportunity to review
12     them.    I don't know how much time you've had, but I
13     will say my ruling right now is detention.
14                 I'll give you the opportunity based on
15     changed circumstances including further review of what
16     you've seen um to apply to reopen the hearing, but at
17     this time, that's going to be my ruling.          Um, now,
18     let's talk about a scheduling order on the indictment.
19     How much time, Nick, for voluntary discovery.
20                 MR. COOPER:    Judge, voluntary discovery in
21     this matter based on the conduct that's charged in the
22     indictment is largely complete based on what I've
23     provided so far, but I'd ask the Court for 30 days to
24     allow the Government to obtain any additional material
25     that's discoverable under Rule 16 and provide it.
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 1                 THE COURT:    Okay.    So today is September 14.
 2     So why don't we say October 14 is a Saturday.           How
 3     about October 16, Monday?
 4                 MR. COOPER:    That works for the Government.
 5     Thank you, Your Honor.
 6                 THE COURT:    Okay.    Jeff, how much time for
 7     defense motions?
 8                 MR. BAGLEY:    Judge, just briefly on that
 9     matter because I know Mr. Cooper takes a very literal
10     view of the discovery obligations that he has, Judge.
11     So there is an indictment now.        I do make a formal
12     demand for discovery, and we are entitled to it now
13     with that demand, Judge, so it's not technically
14     voluntary anymore, Judge.       So just that clarification
15     but --
16                 THE COURT:    Well, okay.
17                 MR. BAGLEY:    -- um, I'll take, Judge, I
18     think -- I think, Judge, if what I have in terms of
19     discovery is essentially um -- essentially complete,
20     then, Judge, I think just maybe 30 days from the 16th.
21                 THE COURT:    Okay.    So that would be
22     Wednesday, November 15.       And um --
23                 MR. BAGLEY:    That is the week that, Judge,
24     I'm on trial.     Maybe we could push it to the following
25     week, Judge.
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 1                  THE COURT:    Okay.   How about Wednesday,
 2     November 22?
 3                  MR. BAGLEY:   Thank you.
 4                  THE COURT:    Okay.   Um, how much time for the
 5     Government's response?
 6                  MR. COOPER:   Just if -- two weeks is
 7     acceptable to the Government if that's acceptable to
 8     the Court.
 9                  THE COURT:    Okay.   That would be December 6.
10     Um, Eric, do you want to give us a date and time for
11     oral argument?
12                  THE CLERK:    Yes, Judge.    Thursday, December
13     14 at 2 p.m.
14                  THE COURT:    Is that acceptable to counsel?
15                  MR. BAGLEY:   Yes, thank you.
16                  MR. COOPER:   It's acceptable to the
17     Government.     Thank you, Judge.
18                  THE COURT:    Okay.   Mr. Cooper, do you wish
19     to be heard as to the speedy trial act between, what
20     did we say, November 22 -- or today and November 22?
21                  MR. COOPER:   Yes, Judge.     Thank you.    Judge,
22     the Government is asking that the time between today's
23     date, that's September 14, 2023 and November 22, 2023,
24     be excluded from the speedy trial act pursuant to
25     Title 18 United States Code Section 3161(h)(7)(a) and
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 1     3161(h)(7)(b)(4).
 2                 During the time between today and November
 3     22, 2023, the Government is going to um compile and
 4     provide any outstanding discoverable material to Mr.
 5     Bagley.    During that timeframe, I expect that Mr.
 6     Bagley is going to review that discovery and discuss
 7     it with his client.      Um, he'll also need that time to
 8     prepare motions which he's requested a schedule to
 9     file, and so it's in the best interest of the
10     defendant that this time be excluded to allow him to
11     obtain discovery, review discovery and file motions,
12     and those interests outweigh the interest of the
13     public and the defendant in a speedier trial.           And so
14     for those reasons, we'd ask that the time be excluded.
15                 MR. BAGLEY:    No objection, Judge.
16                 THE COURT:    I'll adopt counsel's
17     representations as my findings concerning an exclusion
18     of time between today and November 22, 2023, from the
19     speedy trial act calendar.       For the reasons stated by
20     counsel, I find that the ends of justice served by the
21     granting of the continuance outweigh the best interest
22     of the public and the defendant in a speedy trial.               70
23     days will remain on the calendar as of November 22,
24     and if motions are filed, then time will be further
25     excluded by operation of law.
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 1                  One final matter just so the record is
 2     clear.    I'm going to return to Mr. Cooper the
 3     photographs that were handed up to me, so I'm not
 4     making them part of the record right now.
 5                  MR. COOPER:   That's fine, Judge.
 6                  THE COURT:    Um, but I don't -- particularly
 7     given that one is a -- of a sensitive nature, um, I --
 8     I'm not going to retain it.        It will -- the Government
 9     will retain it.
10                  MR. COOPER:   I acknowledge receipt, Judge.
11     Thank you.
12                  THE COURT:    Okay.   Thank you all.    Defendant
13     is remanded.
14                  (Proceeding concluded at 12:31 p.m.)
15
16                  CERTIFICATE OF COURT REPORTER
17
18                  I certify that this is a true and accurate
19     record of proceedings in the United States District
20     Court for the Western District of New York before the
21     Honorable Jeremiah J. McCarthy on September 14, 2023.
22
23     S/ Brandi A. Wilkins
24     Brandi A. Wilkins
25     Official Court Reporter
